Ca$e 5:14-cV-OO479-SI\/|H-|\/|LH Document 1-1 Filed 03/03/14 Page 1 of 16 Page|D #: 5

""T“.§":;

V.,,~.

CT Corporation

'-Td: Meh'ssa M Bachelder
Fresenius` Medical Care
920 WlNTER ST, STEA
Wa`ltham, MA.'02451--1_51\J

'Serv=ice of lProcess
Transmit|::i|l
02/04/'2014

ET Log Number` 52433'41`09

RE:‘ l'rm:nss-Semd ln l~.oulshna

Full: Bio-'Medical Applic'atidns of Lnuisiana, LLC (Domestic Statr.`-: DE)

illean ARE`EDFI. GF EEBAL'PI_IBGEBS REGENED B‘l' TI|E-BTATII'|'U|N"J\BE||T GF`TIIE IIWEGD|I`FANY il FGLL°W§

"rn'l.l: nl= umwa
ooculE'N"r¢s) annum
coun'r)m£ucv¢

NA'|'II.|\E GF. ABTIB||!

on\wnol\l nucleus-wu am
m'r£ mo noon ol-amwlca
-.m'luiu¢o'rmu sz:'n g
Al-F!*M\AN¢`:E on A'nsvm¢ mm
ammm(s) is_euo:iq'sp

A¢'l'l°_|| ITEIIS!

~`S!G"Em
'PEII!
hollle

YEi.E`ruon'E¢

`Addie;Harper, `Pllf. vs. Bio-Medi'cal.hpplitat_ibns-uf Loui'sfana, LL-C, ett_., D'ft_».-
Citation, Petition, Request, |nterrogatories and Request

1_st Judicia-l Dist`rict Cour|:, `Pari'sh‘of Caddo,~ LA
C`aSE # 573940C

-Persuna_l lnjury_ ~ SliplTrilpAand Fall -» On Februaly 4, 2013 at 800 Buckner' Stree't`,
Suite' MUO, Shrevepo'rt,, `

C T Co_rpo'ratlnn System, Baton Rou}ge, LA

By_ Pl‘ocess S_erver an 02104¢'2014.§1:' 09:00

Loulsiana

W.ithin 15 days after you have received these documents

.Ste hen T. Coll`ins

Du l Debosler ln u L‘a'w.yers
43409\’¢'uuree Drrvej pry
Shre'veport, LA 71105
318-670-.7365

CT has retained the current log, Rei:ain Date: 02104/2014, Expected Pur'ge Da"te:
02109./20_14

lmage SOP _ _

Ernail Notification, Mel_lssa M Ba_che|.-der melissa.bachelder@fmc-na.com

C T Cogora_t_ion System

Trevor aroutte

5615 Corép§orate Blvd

.S\.lite 40

Baton Rnuge LA?OBOB
225-922-4496

Pa'ge-1 of 1 l RR'

ll'\form`acron displayed on this trafsmf|:tal 1s-I'o_r‘ I.'.'-r C_orpol‘at|on\s
re¢;:a_r'd keeping purposes only md is provided to the recipient {or
qutdc-¢ef¢rence. This-lnfonnat|on dba mt-comqmm a legal
opinion as w the nature,of action, the amount of damages the
answer date, or any infomatlon contained 'm_»the doocm'ents
mselves. Reclpient fsmspor\stb!é mr interpretingsafd
deems and fur- taking appropriate action.'$i@a'turescn
oerI:IHeq mall receipts mlrm' receipt of postage orily, not
mhmh_ls.

 

Case 5:14-cv-OO479-S|\/|H-MLH Dc€:mzr?ctll-l¢ Filed 03/03/14 Page 2 of 16 Page|D #: 6

km
HARPER,ADDIE NO. 573940-C
STATE OF LOUISIANA
VERSUS RARISH OF CADDO

FIRST JUDICIAL DISTRICT COURT
BIO MEDICAL APPLICATIONS OF LOUISIANA L

THE STATE OF LOUISIANA: TO BIO MEDICAL APPLICATIQNS OF
LOUISIANA LLC DBA SHREVEPORT
REGIONAL DIALYSIS CENTER
THRU CT CORPRATION SYSTEM, AGENT
5615 CORPORATE BLVD,STE 4005, 70808
of the Parish of EAST BATON ROUGE
YOU HAVE BEEN SUED.
Attached to this Citation is a certified copy of the Pstition.* The
petition tells you what you are being sued for.

You must EITHER do what the petition asks, OR, within FIFTEEN (15) days
after you have received these documents, you must file an answer or other
legal pleadings in the Office of the Clerk of this Court at the Caddo
Parish Court House, 501 Texas Street, Room 103, Shrsvsport, Louisiana.

If you do not do what the petition asks, or if you do not file an answer
or legal pleading within FIFTEEN (15) days, a judgment may be sntersd‘
against you without further notics.

This Citation was issued by the Clerk of Court for Caddo Parish, on this
date January lD, 2014.

 

*Also attached are the following: GARY LOFTIN, CLERK OF COURT

__ REQUEST FOR ADMISsIoNs oF FAcTs MIKE spsuss, cHIsF DsPUTY

§ INTERROGATURIES /\ '

_)gg REQUEST FOR PRODUCTION oF uocUMsNTs By.-/ /WLL_

__ Deputy k&§jk

DUDLEY DEBOSSIER - 3545
Attornsy

No'_r'rcs.» ALL PARTIES ARE A TRUE coz`=Y ~- ATTssT
EXPECTED To coMPLY wITH ""

ALL LOCAL coURT RULES w\`:

INCLUDING sur NOT LIMITED / . <M'\’
TO RULE 12 oF FAMILY LAw f neputy cle`r~;d
DIVIsroN RULES.

 

These documents mean you have been sued. Legal assistance is
advisable and you should contact a lawyer immediately. If you want a
lawyer and cannot find ons, please call the Shrevsport Lawyer Referral
Ssrvics at 222-0720. The Shrsvsport Lawyer Refernal Service is affiliated
with the Shreveport Bar Association. If eligible, you may be entitled to
legal assistance at no cost to you through Legal Servicss of North
Louisiana, Inc; please call 222-7281 for more information.

JUDGES AND COURT PERSONNEL, INCLUDING THE SHERIFF AND CLERK OF COURT
EMPLOYEES, CANNOT GIVE LEGAL ADVICE.

If you are a person with a disability, reasonable accomodation and
assistance may be available to allow for your participation in the court

proceedings. Please contact the Clerk of Court’s office for more information.

SERV|CE COP¥

CaSe 5:14-CV-OO479-SI\/|H-|\/|LH Document 1-1 Filed 03/03/14 Page 3 of 16 Page|D #: 7
. \'. " .-

l I

’ 4

ltan HARPER NUMBER; § 71 ?’%9 - ( .

VERSUS 1`"`T JUDICIAL DISTRICT COURT

BIO-MEDICAL APPLICATIONS OF
LOUISIANA, LLC, dba, SHREVEPORT
REGIONAL DIALYSIS CENTER CADDO PARISH,' LOUISLC\NA

PETITION FOR DAMAGES

The petition of ADDIE HARPER, a resident and domiciliary `of Shreveport, Caddo
Parish, Lonisiana, respectfully represents that:
1.00
Made defendant herein is:
(A) BlO-MEDICAL APPL|CAT|ONS OF LOU|SIANA, LLC, DBA,
SHREVEPORT REGIONAL DlALYSlS CENTER, a foreign limited liability
. company authorized to do and doing business in Shreveport, Louisiana and
(B) THE UNKNOWN EMP.LOYEE OF Blp»MEDICAL APFL|CAT|ONS OF
LOU|S|ANA, l_-LC.
n 2.00
On February 4_. 2013, BlO-MED|CAL APPLlCAT|C)NS OF LOUISI.ANA, LLC, DBA,
SHREVEPDRT REG|ONAL DlALYSlS CENTER Was operating a business providing dialysis
treatment located at 800 Buckner Street, Suite A100, Shreveport, Louisiana.
2.30 l
At all times pertinent herein, BlO-MED|CAL APPL|'CATIONS OF LDUIS|ANA, LLC,
DBA, SHREVEPORT REG|ONAL DIALYS|S CENTE|R maintained the care, custody and
control of the premises known as 800 Buckner Street, Suite A100, Shreveport, Louisiana as well as
all equipment appliances, and objects therein.
2.50

At all times pertinent herein, THE UNKNOWN EM'PLOYEE OF BID-MEDICAL

Case 5:14-cv-OO479-_S|\/|H-|\/|LH Document 1-1 Filed 03/03/14 Page 4 of 16 Page|D #: 8

§
l

API’LICATIONS OF LOlUISIANA, LLC was an employee of - BlO-MEDICAL
APPL|CAT|ONS OF LOU|S|ANA, LLC, DBA, SHREVEPORT REG|ONAL DlALYS|S
CENTER.
2.60
At all times pertinent herein, THE UNKNOWN |EMPLOYEE OF BlO-MEDICAL
APPLll.'ZAT|ONS OF LOU|S|ANA, LLC was acting in the course and scope of his employment
with T BlO-MED|CAL APPI_|CAT|ONS OF LOU|S|ANA, LLC, DBA,, SHREVEPORT
REG|ONAL DlALYSlS CENTER by observing the condition of the tloor_, cleaning any spills or
leaks of any tluids, and warning or otherwise protecting patrons at the above described location.
3.00
On February 4, 2013, ADDIE HARPER was a pattonT at BlO-MEDICAL
APPL|CAT|ONS OF LOUISlANA, LLCl DBA, SHREVEPORT RE'G|ONAL DlALYSlS
CENTER and was scheduled to receive dialysis treatment there.
4.00
On February 4, 2013, ADDIE HARPER entered the above described premises and fell
when she slipped in water or a similar substance on the floor.
4.10
ADI)IE HARPER did not know of the presence of the water or similar substance until
after she fell.
4.20
The presence of the water or similar substance on the floor created an unreasonable risk of
harm to patrons by making the floor slippery.
4.30
The presence of the water or similar substance was created by the condition of the
equipment appliances or objects on or in the premises or by acts of employees
4.40
THE UNKNOWN EMPLOYEE OF BlO-MIEDICAL APPLICAT|ONS OF
LOU|S|ANA, LLC either knew or should have known of the presence of the water or similar

substance on the floor prior to the fall of ADDIE HARPER.

Case 5:14-cv-OO479-,S|\/|H-_|\/|LH Document 1-1 Filed 03/03/14 Page 5 of 16 Page|D #: 9

4.50

THE UNKNOWN EMPLOYEE OF B|O-MED|CAL AP_PLICAT|DNS OF
LOUIS|ANA, LLC placed small pads in the floor in an inadequate attempt to soak up the water or
similar substance prior to the fail ot` ADDIE HARPER.

4.60

THE UNKNDWN EMPLOYEE OF BlD-MED|CAL A_PPLICAT|ONS OF
LOUlSlANA, LLC failed to exercise reasonable care by either adequately cleaning the area or
providing adequate warning of the water or similar substance prior to the fall ot` ADDIE
HARPER

5.00

As a result of the above described aceident, ADDIE HARPER sustained the following,
among other, injurics:

a. General pain, soreness and stiffness;

b. Left hip and knee discomfort;

c. Displaccd lateral femoral conder fracture;

d. Surgieal procedure known as open reduction internal fixation of left lateral femoral
conder with Pcriarticular Liss plate;

e. Postoperative staph infection;

t`. Pressure sores and contractures from confinement while hospitalized and/or confined to
a skilled nursing facility;

g. Avascular necrosis of the lateral femoral condylc with collapse of the articular surface,'

h. Impingcment of the hardware against the lateral portion of the tibial plateau;

i. Future degenerative post-traumatic arthritis requiring a total knee arthroplasty; and

j. Other injuries as may be shown at the trial of this matter.

6.00
As a result of` the above described accident and injuries, ADDIE HARPER sustained

the following, among other, damagcs:

a. Physieal pain and suffering (past, present and future)‘,

b. Loss of enjoyment of life (past, present and future);

Ca$e 5:14-cv-OO479-$I\/|H-|\_/|LH Document 1-1 Filed 03/03/14 Page 6 of 16 Page|D #: 10

c. Medical expenses (past, present and iiiture);

d. Mental anguish, humiliation and embarrassmeut;

e. Emotiona[ distress;

t`. lnterest; and

g. Court cost.

7.00
lt will be necessary to use medical witnesses and expert witnesses at the trial of this matter
and their fees together with any expenses for taking their depositions should be fixed and taxed as
court cost.
8.00

Plaintit`f further desires that this Honorable Court award general damages unto plaintiff to

compensate her for her pain, suffering, inconvenience and mental anguish

WHEREFORE, PLAINTIFF PRAYS THAT:

]. Det`endants be served with a copy of this petition and duly cited to appear and answer
same;

2. Ai`ter due proceedings are had, there be judgment rendered herein in favor of` plaintiffs
and against defendants in solido for such damages as are reasonable in thel
premises, together with the maximum legal interest from date oli` judicial demand
until paid, and for all costs of these proceedings;

3. Expert witness fees be fixed and taxed as costs; and

4. For full, general and equitable reliet`.

Respeetfnlly submitted,

DUDLEY DEBOSIER lNJURY LAWYERS

.»-*"'

»- "”"

_»_: "_2.";;¢" -'_? /:1_.~"._..»-')

sTEPHEN T."coLLle
Louisiana Bar Roll #14955
4340 Youree Drive

Shreveport, Lou:isiana 71 105
Telephone: (_318) 670-7365

 

Fax; (318) 670-2417
ATTORNEY ron PLAn~ITtEi`|DORSED F|LED
seizch tNFoRMATloN: lame-eaumer, oenmy clerk

JAN 09 2014

A TRLJE COPY - stites
9 BBB moran eeo 9,_ p., 2

Cas_e 5:14-cv-OO479-SMH-MLH Document 1-1 Filed 03/03/14 Page 7 of 16 Page|D #: 11

BlO-MEDICAL APPL[CAT|C_)NS OF LOU|S|ANA, LLC, DBA, SHREVEPORT
REGIONAL DlALYS|S CENTER
Through it’s registered agent for Service of Process:

CT Corporation System

5615 Corporate Blvd., Ste 400B

Baton Rouge, LA 70808

Case 5:14-cv-OO479-SI\/|H-|\/|LH Document 1-1 Filed 03/03/14 Page 8 of 16 Page|D #: 12

ADDIE HARPER NUMBER:

vERSUS 1ST JUDICIAL DISTRICT COURT

BIO-MEDICAL APPLICATIONS OF
LOUISIANA, LLC, dba, SHREVEPORT
REGIONAL DIALYSIS CENTER CADDO PARISH, LOUISIANA

.'REO\UEST FOR 'I`EN DAYS NOTICE OF
SETT]NGS AN`D NOTICE OF JUDGMENT

t
Petitioners request they be given a minimum‘ot` ten (l{)) days written notice in advance,

through their attorney of record, STEPHEN T. COLLINS, Dudley DeBosier Injury Lawyers, 4340
Youree Drive, Shreveport, Louisiana. 71105, in accordance with articles 1572, 1913 and 1914 of
the louisiana Code ot`Civil Procedure, of the date that this cause is to be fixed for trial, settings of
argument, motions, or hearings, and notice of judgment or partial judgment

Respectfu|ly submitted,

DUDLEY DeBOSIER I'NJURY LAWYERS

_,,,w

, ,_,,
A-‘~'~§r--"">

».'<_-'~'-? .`.'l',.._.', , ,,,
By: ,/"r“" ' "/ ""'; ,
Stephen T. Collins, Louisiana Bar Roll 14955
4340 Youree Drive
Shreveport, `:[.ouisiana 7].105

Telephone: (318) 670-7365
Facsimile: (3'18) 670-7417

ATTORNEY FOR PLAINTIFFS

Ca$e 5:14-cv-OO479-SI\/|H-|\/|LH Document 1-1 Filed 03/03/14 Page 9 of 16 Page|D #: 13

ADDIE HARPER NUMBER:

VERSUS 1ST JUDICIAL DISTRICT CoURT

BIO-MEDICAL APPLICATIONS OF
LOUISIANA, LLC, dba, SHREVEPORT
REGIONAL DIALYSIS CENTER CADDO PARISH, LOUlSlANA

******#**$**=k=k*****$***$##********$$**$##***=l¢*#*****************#*#****

INTERROGATORIES AND RE§ !UEST FOR PRODUCTI|DN
OF DOCUMENTS TO BIO-MED!CAL APPLICATIONS OF

LOLIISIANA, LLC, dba1 SHREVEPORT RE.GIONAL DllALYSlS CENTER

Piaintiff hereby requests that you answer separately and hilly, in writing under oath, each
of the following interrogatories and request for production of documents in accordance with
Louisiana Code of Civil Procedure. These interrogatories are continuing in character and require
you to file supplementary answers if you obtain further or different information after your initial
answers and before trial, including in such supplemental answers the date upon and the manner in
which such further or different information came to your attention.

DEFINITIONS: As used in these interrogatories, the terms listed below are defined as

follows:

(A) “You”, “your”, or “yourselt” means defendant, BIO-MEDICAL

APPLICATIONS OFLOUISIANA, LLC, dl.La, SHREVEI’_ORT REGIONAL

DIALYSIS CENTER and all other persons acting or purporting to act on his/her behalf.

(B) “Plaintiff(s)” means BETTY GARNER, and all other persons acting or purporting
to acton their behalf

(C) “Document” or “documents” mean any writing of any kind including originals and
all nonidentical copies (whether different from the originals by reasons of any
notation made on such copies or otherwise), including without limitation,
agreements, cables, correspondence, memoranda, notes, desk calendars, diaries,

statistics, letters, telegrams, minutes, contract s, reports, studies, checks, invoices,

statements, receipts, returns, warranties, guarantees, summaries, pamphlets, books,

Case 5:14-cv-OO479-S_MH-MLH Document 1-1 Filed 03/03/14 Page 10 of 16 Page|D #: 14

prospectuses, interoffice and intraoffice communications, offers, notations, or any
sort of couversations, bulletins, magazines, publications, printed matter,
photographs, computer printouts, telex, teletypes, telefax, invoices, worksheets,
and all drafts, alterations, modifications changes and amendments, of any of the
foregoing, tapes, tape recordings, transcripts, graphic or aural records, or
representations of any kind, and electronic, mechanical or electric records or
representations of any kind, of which you have knowledge or which are now or
were formerly in you actual or constructive possession, custody or control.

(D)` “Relates to”, “regarding", “conceming” mean supports evidencee, describes,
mentions, refers to, contradicts or compromises

(E) “Person”, “individual” or “entity" means any natural person, firm, corporation,
partnership, proprietorship, joint venture, organization, group of natural person, or
other association, separately identifiable, whether or not such association has a

separate legal existence in its own right.

(F) The terms “identify”, “state” and “described”;

(l) When used in reference to an individual, shall mean_to state his full name,
present or last known residence, business affiliation and business address,
and relation, if any, to you;

(2) When used in reference to a corporation shall mean to state its iiil| name, its
state of incorporation and its principal place o f business;

(3) When used in reference to a person other than an individual or corporation,
shall mean to state its official name, its organizations chart form and its
address;

(4) When used in reference to a document, shall mean to state the type of
document, date, author, address'and title; its present location, name and
address of its custodian, and the substance of the contents thereof; and

(5) When used in reference to any act, occurrence, occasion, meeting,
transaction, or conduct, shall mean to set forth event(s) constituting such

act, its location, the date and persons participating present or involved, and

_ Case 5:14-cv-OO479-Sl\/|H-I\/|_LH Document 1-1 Filed 03/03/14 Page 11 of 16 Page|D #: 15

the documents relating or referring to any way thereto.
INSTRUCTIGNS

(A) With respect to each interrogatory, in addition to supplying the information asked
for and identifying the specific documents referred to, identify all documents which
Were referred to in preparing your answer thereto.

(B) If any document identified in answer to an interrogatory was but is no longer in
your possession, or subject to your custody or control, or was known to you, but is
no longer in existence state what disposition was made of it lor what became of it.

(C) If any interrogatory is deemed to call for the disclosure of privileged matters or
materials and such privilege is asserted, a list is to be fumish identifying each
matter alleged to be privileged with the following information:

(l] The reason for withholding; and
(2) A statement of the facts constituting the basis for any claim of privilege,
work product, or other ground of nondisclosure
INTERROGATORIES
]NTERROGATORY NUMBER ONE:

Please state your full name, residential address, business or occupation, and business
address
INTERROGATORY NUMBER TWO:

Were you the owner of the business known as Shreveport Regional Di'alysis Center on
Febru_ary 4, 2013?

INTERROGATORY NUMBER THREE:

Did you either own or lease all of the equipment located at 800 Bnckner Street, Suite AI 00,
Shreveport, La. 71101? Piease list all equipment on said premises which Was leased by you and
for each such piece of equipment list the person responsible for maintaining it.
lN'LmlROGATORY NUMBER FOUR:

Please list the name of each and every employee that worked at said location on February
3“‘ and/or 4"‘, 2013 and for each person state the date and time worked, their duties and j ob title and

their last known address and phone number.

» Case 5:14-0v-OO479-Sl\/|H-|\/!LH Document1-1 Filed 03/03/14 Page 12 of 16 Page|D #: 16

INTERROGATORY NUMBER FIVE:
Was Addie Harper present at the above address on Februray 4, 2013?.
INTERROGATORY NUMBER SIX:

Did Addie Harper fall on February 4, 20l3 while at the above address? lf` so:

a. Was an incident report done?

b. Who has custody of the incident report?

c. Who wrote the incident report? lf more than one person, name all persons contributing
thereto.

d. Produce a copy of said incident report. If objected to, produce a copy of all parts of
said incident report written by Ms Harper, signed by Ms I-larper or attributed to
Ms.Harper.

e. List ali persons know to you to be a witness to Ms. Harper’s fall and give the last
known address and phone number for each.

f. List all persons who assisted Ms. Harper in any way after she fell and give the last
know address and phone number for each.

g. If` any person identified any foreign substance on the floor in the vicinity of and at the

time of Ms. Harper’s fall, list each such person by name, last know address and phone

number and what they identified the substance as_
h_ if known, state the source of any such substance
INTERRO GATORY NUMBER SEVEN:
For any and all substances identified in lnterrogatory Number 6 did any employee know
that the substance was on the floor prior to Ms. Harper’s fall?
a. lf so, identify that employee by name and last known address and phone number and
when did that employee first become aware of said substance?
b. What efforts were made to clean up the substance prior to and/or after Ms. Harper’s
fall?
c. What efforts were made to warn patrons..of the substance prior to andfor after Ms.
Harper’s fall?

INTERROGATORY NUMBER EIGHT:

~` Case 5:14-cv-OO479-SMH-I\/|_LH Document 1-1 Filed 03/03/14 Page 13 of 16 Page|D #: 17

l l
¢

Was Ms Harper injured to any extent when she feil orr the above reference date and

location?
INTERROGATORY NUMBER NINE:

Did any of your employees believe Ms Harper may have been injured when she fell at the
above referenced time and date? If so, please list by name and last known address and phone
number.

INTERROGATORY NUMBER TEN:

Did any employee assist Ms. Harper after she fell, including by call emergency medical
services or an ambulance? ldentify those persons by name and last known address and phone
number.

INTERRDGATORY NUMBER ELE\fEl\l:

On the date referenced above were any video cameras being used at the Buckner Street
facility referenced above? If so, please produce a copy of the video from 30 minutes before Ms.
Harpers fall until 30 minutes after.

INTERROGATORY NUMBER TWELVE:

Please list all policies of insurance by name on insurer, address and phone number of

insurer and policy number maintained by you which will or may provide coverage for the incident

sued upon herein.

Shreveport, Caddo l='arishl Louisiana, this the day of .Tanuary1 2014.

R_espectfully submitted:

, /5'9/”?”;”1-""'")
DUDLEY DEBOSIER
Stephen T. Coilins, La. Bar Roil No. 1495$
Attomey for Plaintif`f
4340 Youree Drive
Shreveport, Louisiana 71105
Telephone: (318) 670-7365
Teiefax: (Bl&t) 670-7417

 

PLEASE SERVE WTI'H -PETITION FOR DAMAGES

ne Case 5:14-cv-OO479-SI\/|H-I\/|LH Document 1-1 Filed 03/03/14 Page 14 of 16 Page|D #: 18

. ‘i

1$"[` IUDICIAL DISTRICT COURT

ADDIE HARPER
VERSUS

BIO-MEDICAL APPLICATIONS OF

LOUISIANA, LLC, dba, sHREvEPORT

REGIONAL DIA-LYSIS QENTER

PAR_ISH OF CADDO

STATE OF LOUISlANA

* NUMBER: 573,940
‘sE"CT'IoN: “C”

=t-=¢-x-=t-=r-=t~`=t-

MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

NOW INTO. COURT, through undersigned counsell, comes Bio-Medical Applications

of Louisiana, LLC, dba Shreveport Regional Dialysis Center (“BMA”), which, on suggesting to

the Court that this defendant needs additional time to answer the plaintiffs Petition for Damages,

and moves for a fifteen (15) day extension of time in which to file responsive pleadings Mover

requires additional time to investigate the matter prior to filing responsive pleadings and

respectfully suggests that the requested extension will not prejudice any party nor undr`ily delay

the progress of the litigation

Mover was served With the Petition for Damages on February 4, 2014, and the citation

requires the filing of responsive pleadings on or before Februa;ry 19, 2014. Mover requests an

extension until March 6, 2914, and prays for such relief.

665537.1

Respectfully submitted,

TAYLOR, PORTER, BROOKS & PH]LLIPS L.L.P.

z /7/1/\

 

. Campbell, lr., Bar # 3826
Jo A. Milazzo, Jr,, Bar-# 35249
451 Florida Street, Etth Floor (70801)
P.O. Box 2471
Baton Rouge, LA 70821-2471
Telephone: (225) 387-3221
Facsimile: (225) 346-8049

Attorneys for Bio-Medical Applications of
Louisiana, LLC, dba Shreveport Dialysis Center

Case 5:14-cv-OO479-SI\/|H-I\/|LH Document 1-1 Filed 03/03/14 Page 15 of 16 Page|D #: 19

- CERTIFICATE -
I hereby certify that a copy of the foregoing Was served via U.S. Mail, postage prepaid to
counsel f`or the plaintiff at the following address:
Stephen T. Collins
3230 Youree Drive
Shreveport, LA 71105

Baton Rouge, Louisiana, this E_ day of February, 2014.

n OM

John . Milazz;o, Jr.

665537.1

Case 5:14-cv-OO479-SI\/|H-I\/|LH Document 1-1 Filed 03/03/14 Page 16 of 16 Page|D #: 20

§

lST JUDIClAL DISTRICT COURT

PARIsH 0F cAoDo
sTATE oF LouislANA

ADDIE HARPER * NUMBER: 573,940

it
VERSUS * SECTION: “C”

k
BIo-MEDICAL APPLICATIoNs 0F :
LOUISIANA, LLC, dba, sHREvEPORT ,,
REGIONAL DiALYsIs cENTER t

ORDER

Considering the foregoing Motion for Extension of Time filed by Bio-Medical
Applications of Louisiana, LLC, dba Shreveport Regional Dialysis Center:

IT IS HEREBY ORDERED that Bio-Medical Applications of Louisiana, LLC, dba
Shreveport Regional Dialysis Center is granted until March 6, 2014 in Which to file responsive
pleadings to plaintiffs Petition for Damages.

Shreveport, Louisiana, this@f)_c'> day of Februa.ry, 2014.

JUDGE M|CHAEL PlTMAN

 

Judge, lst Judieial District Court `

Ei\!DORSED FlLED

E;TA. NINGTON, Deputy C|erk
t
FEB 2
`/` \. _ .

    
 

665537.1

